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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

NORA COXIE and RICHARD T.                             )
COXIE,                                                )
                                                      )
               Plaintiffs,                            )
                                                      )
v.                                                    )              Civil Action No.
                                                      )
THEREX, INC. and ABC INSURANCE                        )
COMPANY                                               )
                                                      )
               Defendants.                            )

                                    NOTICE OF REMOVAL

       Pursuant to 28 U.S.C. §§ 1332, 1441, Defendant THEREX, INC. (“TherEx”) notices the

removal of the above-referenced civil action from the 40th Judicial District Court for the Parish of

St. John the Baptist, State of Louisiana to the United States District Court, Eastern District of

Louisiana. In support thereof, defendant states as follows:

       1.      Plaintiffs, both believed to be residents of the State of Louisiana, have filed a

Petition for Damages in the 40th Judicial Court for the Parish of Jefferson, State of Louisiana on or

about April 17, 2013 in the matter captioned Nora Coxie and Richard T. Coxie v. Therex, Inc. and

ABC Insurance Company; No. 64745; Div. “C.” The Petition for Damages has not been served

on TherEx, Inc. A copy of the Petition for Damages is attached hereto as “Exhibit A.” No process,

pleadings or orders have been served on Defendants related to this matter.
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        2.       Counsel for defendant TherEx first received the Petition for Damages by mail on

May 13, 2013. As of the date of the filing of this notice of removal, no other Defendants have been

served. This Notice of Removal is timely because it is filed within thirty (30) days of service of

process upon TherEx.

        3.       Defendant TherEx, Inc. is a Delaware corporation with a principal place of business

in Tennessee.

        4.       As plaintiffs are Louisiana residents and TherEx, Inc. is a corporation organized

under the laws of Delaware and headquartered in Tennessee, complete diversity exists as between

these parties.

        5.       Removal is authorized by 28 U.S.C. §1441, and is based on the United States

District Court’s original jurisdiction of the case pursuant to 28 U.S.C. § 1332, because there is

diversity of citizenship between the Plaintiffs and Defendants, and based on a fair reading of

Plaintiffs’ damages allegations, the amount in controversy exceeds $75,000.

        6.       Plaintiffs’ Petition is silent on the amount of damages they seek. That silence is

not significant to this removal, however, because Louisiana law ordinarily does not permit a

plaintiff to plead a specific amount of money damages. See La. Code Civ. Proc. art. 893 (A)(1)

(“No specific monetary amount of damages shall be included in the allegations or prayer for

relief of any original, amended or incidental demand”). Here, despite the Petition’s silence on

damages sought, it is apparent from the allegations that the amount in controversy could

reasonably exceed $75,000.       Plaintiff claims torn ligaments, permanent knee damage, and

additional knee surgery were caused by TherEx’ negligence. Plaintiff’s medical bills provided

are $135,801.08.
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       7.      When the Plaintiff has alleged an indeterminate amount of damages, the Fifth

Circuit requires the removing defendant to prove by a preponderance of the evidence that the

amount in controversy exceeds $75,000. Simon v. Wal-Mart Stores, 193 F.3d 848, 850 (5th Cir.

1999). A defendant can satisfy this burden either by showing that it is facially apparent that the

plaintiffs’ claims likely exceed the jurisdictional amount or by setting forth the facts in dispute that

support a finding that the jurisdictional amount is satisfied. Stevenson v. State Farm Mutual

Automobile Insurance Company, 2012 WL 1565312, *2 (E.D.La. May 1, 2012) (citing Allen v.

R&H Oil & Gas Company, 63 F.3d 1326, 1335 (5th Cir. 1995)).

       8.       Here, a fair reading of plaintiffs’ Petition establishes that plaintiff is seeking

damages in excess of $75,000 for her injuries. Plaintiff claims “permanent nerve damage, delayed

healing process, additional surgery, and other damages including loss of enjoyment of life, medical

expenses, pain and suffering, future pain and suffering, future loss of enjoyment of life, and several

other damages which will be proven at trial.” Exhibit A, Paragraph X. TherEx also provides, as

“Exhibit B” a copy of the summation of plaintiff’s medical bill from River Parishes Hosiptal for

$135,801.08.

       9.       The Fifth Circuit has found the amount in controversy to have been met in cases

involving similar injuries. For example, in Felton v. Greyhound Lines, Inc., 324 F.3d 771 (5th

Cir., 2003), the court found that a $75,000 amount in controversy was facially apparent where an

elderly lady had alleged a broken hip that had to be treated with screws. In Gebbia v. Wal-Mart

Stores Inc., 233 F.3d 880 (5th Cir., 2000), the plaintiff in slip and fall accident met the "facially

apparent" test for amount in controversy. Id. at 883 ("In this action, Plaintiff alleged in her

original state court petition that she sustained injuries to her right wrist, left knee and patella, and

upper and lower back. Plaintiff alleged damages for medical expenses, physical pain and
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suffering, mental anguish and suffering, loss of enjoyment of life, loss of wages and earning

capacity, and permanent disability and disfigurement.").

        10.     Pursuant to 28 U.S.C. §1446, a copy of this Notice of Removal will be filed with the

Clerk of the 40th Judicial District Court for the Parish of John the Baptist, State of Louisiana, and

copies will be served on all parties.

        11.     Defendants request a trial by jury.

        WHEREFORE, Defendants respectfully remove this action from the 40th Judicial District

Court for the Parish of St. John the Baptist, State of Louisiana, to this Court.

                                                Deutsch, Kerrigan & Stiles, L.L.P.


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